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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


DANIEL ZARABI, Individually and On         Case No.
Behalf of All Others Similarly Situated,
                                           CLASS ACTION COMPLAINT FOR
                             Plaintiff,    VIOLATIONS OF THE FEDERAL
                                           SECURITIES LAWS
              v.

GOLAR LNG LIMITED, IAIN ROSS, and          JURY TRIAL DEMANDED
EDUARDO NAVARRO ANTONELLO,

                             Defendants.
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       Plaintiff Daniel Zarabi (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Golar LNG

Limited (“Golar” or the “Company”) with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by Golar; and (c) review of other publicly available information concerning Golar.

                        NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired Golar securities between April 30, 2020 and September 24, 2020, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.       Golar provides infrastructure for the liquefaction, transportation, regasification and

downstream distribution of LNG. Hygo Energy Transition Ltd. f/k/a Golar Power Limited

(“Hygo”) is a joint venture between Golar and investment vehicles affiliated with Stonepeak

Infrastructure Partners. Hygo was formed to develop, own and operate integrated LNG-based

transportation, downstream solutions and associated terminal and power generation infrastructure.

       3.       On September 24, 2020, media reported that Hygo’s CEO Eduardo Navarro

Antonello was involved in a bribery network investigated in Brazil’s Operation Car Wash.

       4.       On this news, the Company’s share price fell $3.28, or 32%, to close at $6.86 per

share on September 24, 2020, thereby damaging investors.

       5.       Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,


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operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that certain

employees, including Hygo’s CEO, had bribed third parties, thereby violating anti-bribery

policies; (2) that, as a result, the Company was likely to face regulatory scrutiny and possible

penalties; (3) that, as a result of the foregoing reputational harm, Hygo’s valuation ahead of its

IPO would be significantly impaired; and (4) that, as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects were materially misleading

and/or lacked a reasonable basis.

        6.       As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                   JURISDICTION AND VENUE

        7.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        8.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        9.       Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.

        10.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the




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United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                               PARTIES

       11.        Plaintiff Daniel Zarabi, as set forth in the accompanying certification, incorporated

by reference herein, purchased Golar securities during the Class Period, and suffered damages as

a result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

       12.        Defendant Golar is incorporated under the laws of Bermuda with its principal

executive offices located in Bermuda. Golar’s common stock trades on the NASDAQ exchange

under the symbol “GLNG.”

       13.        Defendant Iain Ross (“Ross”) was the Company’s Chief Executive Officer

(“CEO”) at all relevant times.

       14.        Defendant Eduardo Navarro Antonello (“Antonello”) was the CEO of Hygo at all

relevant times.

       15.        Defendants Ross and Antonello (collectively the “Individual Defendants”), because

of their positions with the Company, possessed the power and authority to control the contents of

the Company’s reports to the SEC, press releases and presentations to securities analysts, money

and portfolio managers and institutional investors, i.e., the market. The Individual Defendants

were provided with copies of the Company’s reports and press releases alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions and access to material non-

public information available to them, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the public, and that the




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positive representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

                               SUBSTANTIVE ALLEGATIONS

                                           Background

       16.     Golar provides infrastructure for the liquefaction, transportation, regasification and

downstream distribution of LNG. Hygo Energy Transition Ltd. f/k/a Golar Power Limited

(“Hygo”) is a joint venture between Golar and investment vehicles affiliated with Stonepeak

Infrastructure Partners. Hygo was formed to develop, own and operate integrated LNG-based

transportation, downstream solutions and associated terminal and power generation infrastructure.

                               Materially False and Misleading
                          Statements Issued During the Class Period

       17.     The Class Period begins on April 30, 2020. On that day, Golar filed its annual report

on Form 20-F with the SEC for the period ended December 31, 2019 (the “2019 20-F”). Therein,

the Company stated, regarding its disclosure controls and procedures:

       We maintain disclosure controls and procedures that are designed to ensure that
       information required to be disclosed in our Exchange Act reports is recorded,
       processed, summarized and reported within the time periods specified in the SEC’s
       rules and forms, and that such information is accumulated and communicated to
       our management, including our Chief Executive Officer and Chief Financial
       Officer, as appropriate, to allow timely decisions regarding required disclosure.

       Under the supervision of our Company’s Chief Executive Officer and Chief
       Financial Officer, we carried out an evaluation of the effectiveness of our disclosure
       controls and procedures, pursuant to Rule 13a-15(e) of the Exchange Act of 1934,
       as of December 31, 2019. At the time our Annual Report on Form 20-F for the year
       ended December 31, 2019 was filed on April 30, 2020, our Chief Executive Officer
       and Chief Financial Officer concluded that our disclosure controls and procedures
       were effective as of December 31, 2019.

       18.     The 2019 20-F also stated: “We have adopted a Corporate Code of Business Ethics

and Conduct that applies to all our employees. A copy of our Corporate Code of Business Ethics




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and Conduct may be found on our website www.golarlng.com.” The Corporate Code of Business

Ethics and Conduct stated, in relevant part:

       A bribe is defined as an inducement or reward offered, promised or provided in
       order to influence a person to act improperly. The Company is committed to
       instilling a strong anti-corruption culture and to uphold all laws relevant to
       countering bribery and corruption. This includes, but is not limited to, the UK
       Bribery Act 2010 (“Bribery Act”) and the US Foreign and Corrupt Practices Act
       (“F CPA”) which are generally considered to be the strictest legal regimes against
       bribery. The Company’s management are committed to taking a zero-tolerance
       approach to bribery and corruption, so you should seek support if you feel that you
       are being pressured to breach the Policy to achieve other Company objectives.

       The Company expressly prohibits the offering, the giving, the solicitation or the
       acceptance of any bribe, whether cash or other inducement. This applies to bribes
       to or from any person or Company, regardless of their geographical location and
       irrespective of whether they are a public official, public body or private person or
       private Company, by any individual employee or third party. Bribery by an
       employee or third party in order to gain any commercial, contractual or regulatory
       advantage for the Company potentially exposes the Company itself to criminal
       prosecution, as well as the individuals involved.

       19.       On May 20, 2020, Golar issued a press release announcing the release of its

sustainability report and its commitment to setting longer-term ESG targets in 2021. Therein, the

Company stated, in relevant part:

       In order to enhance Golar LNG’s sustainability disclosures and to permit the
       development of ESG targets, Golar today publishes its Sustainability Report on its
       website. After consulting with investors and internal focus groups to develop the
       right KPIs, Golar has identified five priority focus areas and reported key facts and
       figures about our 2019 ESG performance across each one:

                                         *      *       *

                Governance & Ethics: Golar is committed to principles of transparency,
                 human rights, anti-bribery, and anti-corruption. To supplement the
                 oversight efforts of the Management Team and the Board of Directors, we
                 have established a dedicated Safety, Environment and Ethics Committee to
                 oversee our ESG performance, reporting, and key initiatives.

       For each of our five priority ESG focus areas, Golar is also undertaking an exercise
       to set appropriate long-term ESG reporting targets by 2021 in consultation with our
       shareholders, charterers, and other key stakeholders. Setting these comparable
       targets will further aid Golar in fulfilling our commitment to be at the forefront of



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       delivering LNG as an alternative to more emission-intensive fossil fuels while
       meeting global energy demand.

       20.     On August 31, 2020, the Company announced that its joint venture, Hygo Energy

Transition Ltd. would complete an initial public offering (“IPO”). Specifically, in a press release

entitled “Hygo Energy Transition Ltd. Files Registration Statement for Initial Public Offering,”

Golar stated, in relevant part:

       Golar LNG Limited (“Golar LNG”) announced today that Hygo Energy Transition
       Ltd. (“Hygo”), formerly known as Golar Power Limited, a joint venture between
       Golar LNG and investment vehicles affiliated with Stonepeak Infrastructure
       Partners, has filed a Registration Statement on Form F-1 with the U.S. Securities
       and Exchange Commission (“SEC”) related to a proposed initial public offering of
       Hygo’s common shares. Hygo intends to apply to list the common shares on the
       Nasdaq Global Select Market under the ticker symbol “HYGO.”

       Hygo was formed to develop, own and operate integrated LNG-based
       transportation, downstream solutions and associated terminal and power generation
       infrastructure. Hygo provides these integrated downstream LNG solutions to
       underserved markets by delivering low cost, environmentally sound energy
       alternatives to consumers around the world.

       21.     On September 17, 2020, Golar announced the launch of Hygo’s IPO. In a press

release, the Company stated, in relevant part:

       Golar LNG Limited ("Golar") announces today that Hygo Energy Transition Ltd.
       (NASDAQ: HYGO) (“Hygo”), a joint venture with Stonepeak Infrastructure
       Partners, has launched an initial public offering of 23,100,000 common shares
       (“common shares”) at an anticipated initial offering price between $18.00 and
       $21.00 per share pursuant to a registration statement on Form F-1 previously filed
       with the Securities and Exchange Commission (the “SEC”). In addition, Hygo
       intends to grant the underwriters a 30-day option to purchase up to an additional
       3,465,000 common shares. Hygo has applied to list the common shares on the
       Nasdaq Global Select Marketplace under the ticker symbol “HYGO.” Following
       the consummation of the initial public offering, Golar is expected to own
       50,000,000 common shares in Hygo.

       22.     The above statements identified in ¶¶ 17-21 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) that certain employees,




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including Hygo’s CEO, had bribed third parties, thereby violating anti-bribery policies; (2) that,

as a result, the Company was likely to face regulatory scrutiny and possible penalties; (3) that, as

a result of the foregoing reputational harm, Hygo’s valuation ahead of its IPO would be

significantly impaired; and (4) that, as a result of the foregoing, Defendants’ positive statements

about the Company’s business, operations, and prospects were materially misleading and/or lacked

a reasonable basis.

                           Disclosures at the End of the Class Period

       23.     On September 24, 2020, media reported that Hygo’s CEO Eduardo Navarro

Antonello was involved in a bribery network investigated in Brazil’s Operation Car Wash.

According to reports, Sapura Energy paid $40 million in bribes for a $2.7 billion contract with

Petrobras and hired lobbyist Mauricio Carvalho to get inside information and help formulate a

winning proposal. Carvalho then allegedly passed the information to defendant Antonello.

       24.     The same day, Golar announced that Hygo had initiated a review of the allegations

against defendant Antonello. In a press release, the Company stated, in relevant part:

       The Company is aware of the allegations that have been made against Hygo's Chief
       Executive, Eduardo Antonello. The allegations against Mr. Antonello involve
       conduct that predates and do not, in any way, implicate his work at Hygo. However,
       in an abundance of caution, Hygo has initiated a review to seek to confirm that there
       have not been any deviations from its culture of compliance in connection with Mr.
       Antonello's service to Hygo.

       25.     On this news, the Company’s share price fell $3.28, or 32%, to close at $6.86 per

share on September 24, 2020, thereby damaging investors.

                               CLASS ACTION ALLEGATIONS

       26.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Golar securities between April 30, 2020 and September 24, 2020, inclusive,




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and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

        27.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Golar’s shares actively traded on the NASDAQ.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

thousands of members in the proposed Class. Millions of Golar shares were traded publicly during

the Class Period on the NASDAQ. Record owners and other members of the Class may be

identified from records maintained by Golar or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        28.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        29.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

        30.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;




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                (b)     whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Golar; and

                (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

        31.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                               UNDISCLOSED ADVERSE FACTS

        32.     The market for Golar’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Golar’s securities traded at artificially inflated prices during the Class Period. Plaintiff

and other members of the Class purchased or otherwise acquired Golar’s securities relying upon

the integrity of the market price of the Company’s securities and market information relating to

Golar, and have been damaged thereby.

        33.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Golar’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Golar’s business, operations, and prospects as alleged herein.




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       34.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Golar’s financial well-being and prospects. These material misstatements and/or

omissions had the cause and effect of creating in the market an unrealistically positive assessment

of the Company and its financial well-being and prospects, thus causing the Company’s securities

to be overvalued and artificially inflated at all relevant times. Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of the Class

purchasing the Company’s securities at artificially inflated prices, thus causing the damages

complained of herein when the truth was revealed.

                                       LOSS CAUSATION

       35.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       36.     During the Class Period, Plaintiff and the Class purchased Golar’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       37.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced


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in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Golar, their control over, and/or

receipt and/or modification of Golar’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Golar, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

       38.     The market for Golar’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Golar’s securities traded at artificially inflated prices during the Class Period. On

September 18, 2020, the Company’s share price closed at a Class Period high of $13.91 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of Golar’s securities and market information relating

to Golar, and have been damaged thereby.

       39.     During the Class Period, the artificial inflation of Golar’s shares was caused by the

material misrepresentations and/or omissions particularized in this Complaint causing the damages

sustained by Plaintiff and other members of the Class. As described herein, during the Class

Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Golar’s business, prospects, and operations. These material misstatements and/or

omissions created an unrealistically positive assessment of Golar and its business, operations, and

prospects, thus causing the price of the Company’s securities to be artificially inflated at all

relevant times, and when disclosed, negatively affected the value of the Company shares.

Defendants’ materially false and/or misleading statements during the Class Period resulted in



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Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       40.     At all relevant times, the market for Golar’s securities was an efficient market for

the following reasons, among others:

               (a)     Golar shares met the requirements for listing, and was listed and actively

traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, Golar filed periodic public reports with the SEC

and/or the NASDAQ;

               (c)     Golar regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on the

national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     Golar was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       41.     As a result of the foregoing, the market for Golar’s securities promptly digested

current information regarding Golar from all publicly available sources and reflected such

information in Golar’s share price. Under these circumstances, all purchasers of Golar’s securities

during the Class Period suffered similar injury through their purchase of Golar’s securities at

artificially inflated prices and a presumption of reliance applies.

       42.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),




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because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       43.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Golar

who knew that the statement was false when made.




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                                            FIRST CLAIM

                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        44.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        45.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Golar’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        46.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Golar’s securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        47.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Golar’s financial well-

being and prospects, as specified herein.

        48.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course


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of conduct as alleged herein in an effort to assure investors of Golar’s value and performance and

continued substantial growth, which included the making of, or the participation in the making of,

untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Golar and its business operations and future prospects in light of

the circumstances under which they were made, not misleading, as set forth more particularly

herein, and engaged in transactions, practices and a course of business which operated as a fraud

and deceit upon the purchasers of the Company’s securities during the Class Period.

       49.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       50.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and




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for the purpose and effect of concealing Golar’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       51.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Golar’s

securities was artificially inflated during the Class Period. In ignorance of the fact that market

prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

the false and misleading statements made by Defendants, or upon the integrity of the market in

which the securities trades, and/or in the absence of material adverse information that was known

to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants

during the Class Period, Plaintiff and the other members of the Class acquired Golar’s securities

during the Class Period at artificially high prices and were damaged thereby.

       52.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Golar was experiencing, which were not disclosed by Defendants, Plaintiff and other members

of the Class would not have purchased or otherwise acquired their Golar securities, or, if they had

acquired such securities during the Class Period, they would not have done so at the artificially

inflated prices which they paid.




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        53.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        54.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM

                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        55.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        56.     Individual Defendants acted as controlling persons of Golar within the meaning of

Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

their ownership and contractual rights, participation in, and/or awareness of the Company’s

operations and intimate knowledge of the false financial statements filed by the Company with the

SEC and disseminated to the investing public, Individual Defendants had the power to influence

and control and did influence and control, directly or indirectly, the decision-making of the

Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. Individual Defendants were provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements

alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be corrected.

        57.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the




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particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        58.    As set forth above, Golar and Individual Defendants each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)    Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.




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Dated: September 24, 2020           GLANCY PRONGAY & MURRAY LLP

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                    SWORN CERTIFICATION OF PLAINTIFF


              GOLAR LNG LIMITED SECURITIES LITIGATION


  I, Daniel Zarabi, certify that:

  1.      I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
          Plaintiff motion on my behalf.

  2.      I did not purchase the Golar LNG Limited securities that are the subject of this
          action at the direction of plaintiff’s counsel or in order to participate in any private
          action arising under this title.

  3.      I am willing to serve as a representative party on behalf of a class and will testify
          at deposition and trial, if necessary.

  4.      My transactions in Golar LNG Limited securities during the Class Period set forth
          in the Complaint are as follows:

          (See attached transactions)

  5.      I have not sought to serve, nor served, as a representative party on behalf of a
          class under this title during the last three years, except for the following:


  6.      I will not accept any payment for serving as a representative party, except to
          receive my pro rata share of any recovery or as ordered or approved by the court,
          including the award to a representative plaintiff of reasonable costs and expenses
          (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.



  9/24/2020
________________                          _________________________________________
      Date                                             Daniel Zarabi
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     Daniel Zarabi's Transactions in Golar LNG Limited (GLNG)
    Date          Transaction Type         Quantity       Unit Price
 5/1/2020              Bought                100           $6.3000
 5/6/2020              Bought                100           $5.8600
 5/22/2020             Bought                200           $6.6200
 6/8/2020              Bought                200           $9.0900
 6/8/2020              Bought                100           $9.4600
 9/23/2020             Bought                200          $10.7600
